(REV. 12/17/12)
                    Case 4:17-cr-00293-BSM Document 2211 Filed 08/24/21 Page 1 of 1

                                              TRANSMITTAL SHEET

              TO:          &OHUN86&$                                 8/24/2021
                                                                   DATE:BBBBBBBBBBBBBBBBBBBBBBBBBBBB

              FROM:        86'LVWULFW&RXUW&OHUN
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                                 4:17-cr-00293-46-BSM
              DISTRICT COURT NO. ________________________________________________________

              TRANSMITTED HEREWITH:

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                           Copies of Presentence Investigation Report, Statement of Reasons, [1440] Sealed Document,
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                           [1798] Plea Agreement Addendum, [1799] Sealed Document, [1920] Sealed Document
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              COMMENTS:
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